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                                                Exhibit G-Sales Kakey
                   Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                            Payment
s/n Date                Name            Phone Number Amount Paid                      Paid to Artist    Purchased
                                                                            Method
  1   12/19/2020     eazygot_steelo                      $125.00       Cash App           $62.50          story post
  2   12/19/2020          cuttydre                       $100.00       Cash App           $50.00          story post
                                                                                                       down payment
  3   12/19/2020   thetraphouse.brat                     $40.00        Cash App           $20.00
                                                                                                             promo
  4   12/19/2020          wizocracc                      $150.00       Cash App           $75.00            ig story
  5   12/20/2020     jungle.boy.trip                     $50.00        Cash App           $25.00            ig story
  6   12/20/2020        iamvashare                       $1,000.00     Cash App       $500.00          live and ig post
  7   12/20/2020     merchdats_6ix                       $150.00       Cash App           $85.00          story post
  8   12/20/2020           gcs360s                       $50.00        Cash App            $0.00            ig story
  9   12/21/2020     ceo.chief.flame                     $50.00        Cash App           $25.00            ig story
                                                                                                       song listen and
 10   12/21/2020       letseat_nate                      $1,000.00     Cash App       $450.00
                                                                                                              post
 11   12/21/2020    bodiedbybrooke                       $500.00       Cash App       $250.00               ig story
 12   12/21/2020         1p_money                        $50.00        Cash App           $25.00            ig story
 13   12/21/2020      realsexbarbie                      $200.00       Cash App       $100.00               ig story
 14   12/21/2020           rtorriee     (561) 568-XXXX   $350.00       Cash App       $175.00               ig story
 15   12/21/2020    naynaybosslady      (561) 303-XXXX   $100.00       Cash App           $50.00            ig story
 16   12/21/2020    bouncybundlez       (470) 515-XXXX   $150.00       Cash App           $75.00            ig story
 17   12/21/2020       beyruthless                       $50.00        Cash App           $25.00            ig story
 18   12/21/2020           kimlifts                      $100.00       Cash App           $50.00            ig story
 19   12/22/2020   real.estatetrappin   (412) 897-XXXX   $750.00       cash App       $375.00               ig story
 20   12/22/2020      sandrorubes                        $200.00       cash App       $100.00               ig story
 21   12/22/2020         idgafkayyy                      $50.00        cash App           $25.00            ig story
 22   12/22/2020          _rockym       (773) 678-XXXX   $50.00        cash App           $25.00            ig story
 23   12/23/2020       letseat_nate                      $800.00       cash App       $400.00               ig story
 24   12/24/2020          pg_pluto                       $100.00       Cash App           $50.00            ig story
 25   12/24/2020    shesgotitfitness                     $500.00       Cash App       $250.00               ig story
 26   12/24/2020         torrysorry                      $100.00       Cash App           $50.00            ig story
 27   12/26/2020      kashi_barbie                       $500.00       Cash App       $250.00               ig story


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                                                    Exhibit G-Sales Kakey
                       Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                    Name            Phone Number Amount Paid                    Paid to Artist   Purchased
                                                                              Method
 28   12/26/2020 theonlychopthatmatters (440) 227-XXXX $100.00           Cash App           $50.00        ig story
 29   12/26/2020           judyyymarie                     $100.00       Cash App           $50.00        ig story
 30   12/28/2020            soufside85      (972) 503-XXXX $200.00       Cash App       $100.00           ig story
 31   12/28/2020          glossyluxeco_                    $350.00       Cash App       $175.00           ig story
 32   12/29/2020      jungledivasmagazine                  $200.00       Cash App       $100.00           ig story
 33   12/29/2020          damnitsdimes                     $300.00       Cash App       $150.00           ig story
 34   12/29/2020          imjhonniblaze                    $350.00       Cash App       $175.00           ig story
 35        1/2/2020        ladiirose007                    $100.00       Apple Pay           $0.00        ig story
 36        1/2/2020      damn_tammie                       $50.00        Cash App           $25.00        ig story
 37        1/2/2020         fjgoodtime                     $150.00       Cash App           $75.00        ig story
 38        1/2/2020            xo.quin                     $100.00       Cash App           $50.00        ig story
 39        1/2/2020        whopperme                       $600.00       Cash App       $300.00           ig story
 40        1/2/2020         destahkneej                    $100.00       Cash App           $50.00        ig story
 41        1/2/2020      onesieworld_1                     $100.00       Cash App           $50.00        ig story
 42        1/2/2020          itskalishap                   $50.00        Cash App           $25.00        ig story
 43        1/2/2020        cocoobunnie                     $200.00       Cash App       $100.00           ig story
 44        1/3/2020      iam_honeydoll                     $200.00       Cash App       $100.00           ig story
 45        1/3/2020     brownskinzelda                     $50.00        Cash App           $25.00        ig story
 46        1/4/2020         slimisadrug                    $100.00       Cash App           $50.00        ig story
 47        1/4/2020          tylerwisby                    $100.00             Zelle         $0.00        ig story
 48        1/4/2020           ninanyne                     $300.00       Cash App       $150.00           ig story
 49        1/4/2020    teresalavaebackup                   $300.00       Cash App       $150.00           ig story
 50        1/4/2020        judyyymarie                     $100.00       Cash App           $50.00        ig story
 51        1/4/2020           ninanyne                     $200.00             Zelle         $0.00        ig story
 52        1/4/2021     ms.light.skin.one                  $500.00       Apple Pay           $0.00        ig story
 53        1/4/2021         kappamal_                      $50.00        Cash App           $25.00        ig story
 54        1/5/2021         cupkakexo                      $100.00       Cash App           $50.00        ig story


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                                                      Exhibit G-Sales Kakey
                         Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                                   Payment
s/n Date                     Name              Phone Number Amount Paid                      Paid to Artist   Purchased
                                                                                   Method
 55        1/7/2021 zeunnarosebeenblessed                       $600.00       Cash App       $300.00            ig story
 56        1/7/2021           vixenn.love      (310) 270-XXXX   $150.00       Cash App           $75.00         ig story
 57        1/7/2021         mustbjordan                         $200.00       Cash App       $100.00            ig story
 58        1/9/2021              rtorriee      (561) 568-XXXX   $100.00       Cash App           $50.00         ig story
 59        1/9/2021         imyurleader_                        $350.00       Cash App       $175.00            ig story
 60        1/9/2021       juicyfantasy100      (214) 972-XXXX   $150.00       Cash App           $75.00         ig story
 61    1/11/2021      zeunnarosebeenblessed                     $100.00       Cash App            $0.00        2 hr page
 62    1/13/2021             smgcurtis17                        $1,000.00     Cash App       $500.00          page post
 63    1/13/2021      model.promotion.stores                    $50.00        Cash App           $25.00         ig story
 64    1/13/2021              gsssbyjerry                       $100.00       cash App           $50.00         ig story
 65    1/13/2021              slimisadrug                       $100.00       cash App           $50.00         ig story
 66    1/14/2021               gee_ayy_        (404) 858-XXXX   $100.00       cash App           $50.00         ig story
 67    1/14/2021         wanttogainweight                       $400.00       cash App       $200.00          48 hr page
 68    1/14/2021              adivaslyfe_      (352) 339-XXXX   $300.00       cash App       $150.00          page post
 69    1/17/2021          shotcalla_snuck                       $150.00       cash App           $75.00         ig story
 70    1/17/2021           fierramonique                        $200.00       cash App       $100.00            ig story
 71    1/17/2021             the_purcella                       $300.00       cash App       $150.00            ig story
 72    1/18/2021           bosslady2014_                        $100.00       cash App           $50.00         ig story
 73    1/18/2021         thaatdamnpersia       (817) 664-XXXX   $200.00       cash App       $100.00            ig story
 74    1/19/2021              mulamaniii                        $350.00       cash App       $175.00            ig story
 75    1/19/2021           naynabosslady                        $100.00       cash App           $50.00         ig story
 76    1/19/2021            realsexbarbie                       $200.00       cash App       $100.00          page post
 77    1/19/2021       lovelysky_cookieclub    (305) 586-XXXX   $30.00        cash App           $50.00         ig story
 78    1/19/2021         brainsbeautybank                       $100.00       Apple Pay           $0.00         ig story
 79    1/20/2021              msmilan4u                         $150.00       cash App           $75.00         ig story
 80    1/20/2021         malaysia pretty                        $160.00       cash App           $80.00         ig story
 81    1/22/2021        missmonaamonroe                         $50.00        cash App           $25.00         ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                Name            Phone Number Amount Paid                        Paid to Artist     Purchased
                                                                              Method
 82    1/23/2021      damnitsdimes                         $300.00       apple Pay           $0.00          page post
 83    1/24/2021        kittyklovers                       $500.00       apple Pay           $0.00           5 stories
 84    1/24/2021     plussizechunky                        $100.00       cash App           $50.00           2 hr page
 85    1/24/2021      blackchinnaaf       (786) 277-XXXX   $200.00       cash App       $100.00             24 hr page
 86    1/25/2021       lyfesreal_ru_      (470) 507-XXXX   $100.00       cash App           $50.00            ig story
 87    1/26/2021           rtorriee       (561) 569-XXXX   $382.00       cash App       $191.00              4 hr page
 88    1/26/2021     paris_beautique                       $50.00        cash App           $25.00            ig story
 89    1/26/2021     iam_honeydoll                         $300.00       cash App       $150.00              5 hr page
 90    1/29/2021   teresalavaebackup                       $300.00       cash App       $150.00              3 hr page
 91    1/29/2021        prissyblaire      (310) 334-XXXX   $350.00       apple Pay           $0.00            ig story
 92    1/29/2021         mzdani2x         (262) 894-XXXX   $200.00       cash App       $100.00              5 hr page
 93    1/29/2021       lyfesreal_ru_                       $100.00       cash App           $50.00            ig story
 94    1/29/2021    dominatetricksz                        $175.00       cash App            $0.00          page post
 95     2/1/2021 missamazinhollywood                       $150.00       cash App           $75.00            ig story
 96     2/2/2021     naynaybosslady                        $100.00       cash App           $50.00            ig story
 97    2/10/2021    amoy_brown456         (413) 489-XXXX   $500.00       cash App       $250.00             24 hr page
 98    2/10/2021    spoiled brattt_       (209) 229-XXXX   $200.00       cash App       $100.00               ig story
 99    2/11/2021 therealbella_rochelle    (984) 999-XXXX   $100.00       cash App           $50.00            ig story
100    2/11/2021      thegoatcharise      (269) 910-XXXX   $200.00       cash App       $100.00               ig story
101    2/11/2021     novethecreator       (404) 375-XXXX   $100.00       cash App           $50.00            ig story
102    2/12/2021         megkgunn         (443) 835-XXXX   $100.00       cash App           $50.00            ig story
                                                                                                         2 ig story - paid
103           nandyworld_chichaircollection
       2/12/2021                          (973) 866-XXXX   $300.00       cash App       $150.00
                                                                                                          for additional
104    2/12/2021    dreaminofme_16        (561) 599-XXXX   $200.00       cash App       $100.00               ig story
105    2/13/2021         inye_sosa        (618) 830-XXXX   $200.00       cash App       $100.00               ig story
106    2/13/2021          jamilypr        (412) 218-XXXX   $125.00       cash App           $62.50            ig story
107    2/15/2021    amoy_brown456         (413) 489-XXXX   $500.00       cash App       $250.00          24 hr page post
108    2/23/2021         rellechapo                        $500.00              Zelle        $0.00       24 hr page post


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                                                    Exhibit G-Sales Kakey
                       Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                                Payment
s/n Date                    Name            Phone Number Amount Paid                      Paid to Artist    Purchased
                                                                                Method
109    2/27/2021            tylerwisby                       $200.00            Venmo          $0.00           ig story
110    2/28/2021              rtorriee                       $100.00       cash App           $50.00           ig story
111        3/1/2021        wavverlyy24                       $150.00       cash App           $75.00           ig story
112        3/3/2021      bunzis4ever_3x                      $400.00              zelle        $0.00           ig story
113        3/6/2021     amoy_brown456       (413) 489-XXXX   $450.00       cash App       $225.00          24 hr page post
114        3/6/2021   msbirthdaycakez2      (216) 315-XXXX   $100.00       cash App            $0.00           ig story
115        3/7/2021         rellechapo      (248) 993-XXXX   $500.00       cash App       $250.00            24 hr page
116    3/10/2021             biffbenz       (804) 485-XXXX   $400.00       cash App       $200.00             5 hr page
117    3/11/2021      drippinn_melanin      (718) 764-XXXX   $160.00       cash App           $80.00           ig story
118    3/13/2021        amoy_brown456       (413) 489-XXXX   $450.00       cash App       $225.00          24 hr page post
119    3/13/2021         1 esmeedgaff       (850) 800-XXXX   $280.00              zelle        $0.00           ig story
120    3/16/2021            rellechapo                       $500.00       cash App       $250.00             page post
121    3/17/2021        amoy_brown456       (413) 489-XXXX   $450.00       cash App       $225.00          24 hr page post
122    3/24/2021           msbonnieali                       $400.00       cash App       $200.00             page post
123    3/24/2021           pretty.z.kitty   (404) 451-XXXX   $100.00       cash App           $50.00           ig story
124    3/24/2021       therealbunz4ever     (214) 882-XXXX   $400.00              zelle        $0.00          page post
125    3/26/2021      originaluglyducklin   (904) 805-XXXX   $300.00       apple Pay           $0.00          page post
126    3/29/2021         naynaybosslady                      $100.00       cash App           $50.00           ig story
127    3/30/2021        amoy_brown456       (413) 489-XXXX   $400.00       cash App       $200.00             page post
128    3/31/2021             yrbrabi_                        $200.00       cash App       $100.00              ig story
129    3/31/2021         pinkdominican      (804) 655-XXXX   $55.00        cash App           $27.50          2 hr story
130    3/31/2021          theplug4you1                       $200.00       apple Pay           $0.00       2 hr page post
131   12/19/2020         eazygot_steelo                      $125.00       Cash App           $62.50          story post
132   12/19/2020             cuttydre                        $100.00       Cash App           $50.00          story post
                                                                                                           down payment
133   12/19/2020       thetraphouse.brat                     $40.00        Cash App           $20.00
                                                                                                                promo
134   12/19/2020          wizocracc                          $150.00       Cash App           $75.00           ig story



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                                                Exhibit G-Sales Kakey
                   Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                          Payment
s/n Date                Name            Phone Number Amount Paid                    Paid to Artist    Purchased
                                                                          Method

135   12/20/2020    jungle.boy.trip                    $50.00        Cash App           $25.00           ig story

136   12/20/2020      iamvashare                       $1,000.00     Cash App       $500.00          live and ig post

137   12/20/2020    merchdats_6ix                      $150.00       Cash App           $85.00         story post

138   12/20/2020       gcs360s                         $50.00        Cash App           $0.00            ig story

139   12/21/2020    ceo.chief.flame                    $50.00        Cash App           $25.00           ig story
                                                                                                     song listen and
140   12/21/2020     letseat_nate                      $1,000.00     Cash App       $450.00
                                                                                                          post
141   12/21/2020   bodiedbybrooke                      $500.00       Cash App       $250.00              ig story

142   12/21/2020      1p_money                         $50.00        Cash App           $25.00           ig story

143   12/21/2020     realsexbarbie                     $200.00       Cash App       $100.00              ig story

144   12/21/2020        rtorriee        (561) 568-XXXX $350.00       Cash App       $175.00              ig story

145   12/21/2020   naynaybosslady       (561) 303-XXXX $100.00       Cash App           $50.00           ig story

146   12/21/2020   bouncybundlez        (470) 515-XXXX $150.00       Cash App           $75.00           ig story

147   12/21/2020      beyruthless                      $50.00        Cash App           $25.00           ig story

148   12/21/2020        kimlifts                       $100.00       Cash App           $50.00           ig story

149   12/22/2020   real.estatetrappin   (412) 897-XXXX $750.00       cash App       $375.00              ig story

150   12/22/2020     sandrorubes                       $200.00       cash App       $100.00              ig story
151   12/22/2020      idgafkayyy                       $50.00        cash App           $25.00           ig story
152   12/22/2020       _rockym          (773) 678-XXXX $50.00        cash App           $25.00           ig story



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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                            Payment
s/n Date                Name           Phone Number Amount Paid                       Paid to Artist   Purchased
                                                                            Method
153   12/23/2020         letseat_nate                    $800.00       cash App       $400.00           ig story
154   12/24/2020            pg_pluto                     $100.00       Cash App           $50.00        ig story
155   12/24/2020      shesgotitfitness                   $500.00       Cash App       $250.00           ig story
156   12/24/2020           torrysorry                    $100.00       Cash App           $50.00        ig story
157   12/26/2020        kashi_barbie                     $500.00       Cash App       $250.00           ig story
158   12/26/2020 theonlychopthatmatters (440) 227-XXXX   $100.00       Cash App           $50.00        ig story
159   12/26/2020        judyyymarie                      $100.00       Cash App           $50.00        ig story
160   12/28/2020          soufside85    (972) 503-XXXX   $200.00       Cash App       $100.00           ig story
161   12/28/2020       glossyluxeco_                     $350.00       Cash App       $175.00           ig story
162   12/29/2020 jungledivasmagazine                     $200.00       Cash App       $100.00           ig story
163   12/29/2020       damnitsdimes                      $300.00       Cash App       $150.00           ig story
164   12/29/2020       imjhonniblaze                     $350.00       Cash App       $175.00           ig story
165     1/2/2020        ladiirose007                     $100.00       Apple Pay           $0.00        ig story
166     1/2/2020      damn_tammie                        $50.00        Cash App           $25.00        ig story
167     1/2/2020          fjgoodtime                     $150.00       Cash App           $75.00        ig story
168     1/2/2020             xo.quin                     $100.00       Cash App           $50.00        ig story
169     1/2/2020        whopperme                        $600.00       Cash App       $300.00           ig story
170     1/2/2020         destahkneej                     $100.00       Cash App           $50.00        ig story
171     1/2/2020      onesieworld_1                      $100.00       Cash App           $50.00        ig story
172     1/2/2020          itskalishap                    $50.00        Cash App           $25.00        ig story
173     1/2/2020        cocoobunnie                      $200.00       Cash App       $100.00           ig story
174     1/3/2020      iam_honeydoll                      $200.00       Cash App       $100.00           ig story
175     1/3/2020     brownskinzelda                      $50.00        Cash App           $25.00        ig story
176     1/4/2020         slimisadrug                     $100.00       Cash App           $50.00        ig story
177     1/4/2020           tylerwisby                    $100.00             Zelle         $0.00        ig story
178     1/4/2020            ninanyne                     $300.00       Cash App       $150.00           ig story
179     1/4/2020    teresalavaebackup                    $300.00       Cash App       $150.00           ig story
180     1/4/2020        judyyymarie                      $100.00       Cash App           $50.00        ig story
181     1/4/2020            ninanyne                     $200.00             Zelle         $0.00        ig story
182     1/4/2021     ms.light.skin.one                   $500.00       Apple Pay           $0.00        ig story
183     1/4/2021          kappamal_                      $50.00        Cash App           $25.00        ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                 Name             Phone Number Amount Paid                      Paid to Artist   Purchased
                                                                              Method
184     1/5/2021         cupkakexo                         $100.00       Cash App           $50.00         ig story
185     1/7/2021 zeunnarosebeenblessed                     $600.00       Cash App       $300.00            ig story
186     1/7/2021         vixenn.love      (310) 270-XXXX   $150.00       Cash App           $75.00         ig story
187     1/7/2021       mustbjordan                         $200.00       Cash App       $100.00            ig story
188     1/9/2021            rtorriee      (561) 568-XXXX   $100.00       Cash App           $50.00         ig story
189     1/9/2021       imyurleader_                        $350.00       Cash App       $175.00            ig story
190     1/9/2021     juicyfantasy100      (214) 972-XXXX   $150.00       Cash App           $75.00         ig story
191    1/11/2021 zeunnarosebeenblessed                     $100.00       Cash App            $0.00        2 hr page
192    1/13/2021        smgcurtis17                        $1,000.00     Cash App       $500.00          page post
193    1/13/2021 model.promotion.stores                    $50.00        Cash App           $25.00         ig story
194    1/13/2021         gsssbyjerry                       $100.00       cash App           $50.00         ig story
195    1/13/2021         slimisadrug                       $100.00       cash App           $50.00         ig story
196    1/14/2021          gee_ayy_        (404) 858-XXXX   $100.00       cash App           $50.00         ig story
197    1/14/2021    wanttogainweight                       $400.00       cash App       $200.00          48 hr page
198    1/14/2021         adivaslyfe_      (352) 339-XXXX   $300.00       cash App       $150.00          page post
199    1/17/2021     shotcalla_snuck                       $150.00       cash App           $75.00         ig story
200    1/17/2021      fierramonique                        $200.00       cash App       $100.00            ig story
201    1/17/2021        the_purcella                       $300.00       cash App       $150.00            ig story
202    1/18/2021      bosslady2014_                        $100.00       cash App           $50.00         ig story
203    1/18/2021    thaatdamnpersia       (817) 664-XXXX   $200.00       cash App       $100.00            ig story
204    1/19/2021         mulamaniii                        $350.00       cash App       $175.00            ig story
205    1/19/2021      naynabosslady                        $100.00       cash App           $50.00         ig story
206    1/19/2021       realsexbarbie                       $200.00       cash App       $100.00          page post
207    1/19/2021 lovelysky_cookieclub     (305) 586-XXXX   $30.00        cash App           $50.00         ig story
208    1/19/2021    brainsbeautybank                       $100.00       Apple Pay           $0.00         ig story
209    1/20/2021         msmilan4u                         $150.00       cash App           $75.00         ig story
210    1/20/2021    malaysia pretty                        $160.00       cash App           $80.00         ig story
211    1/22/2021   missmonaamonroe                         $50.00        cash App           $25.00         ig story
212    1/23/2021      damnitsdimes                         $300.00       apple Pay           $0.00       page post
213    1/24/2021        kittyklovers                       $500.00       apple Pay           $0.00        5 stories
214    1/24/2021     plussizechunky                        $100.00       cash App           $50.00        2 hr page


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                            Payment
s/n Date                Name             Phone Number Amount Paid                     Paid to Artist     Purchased
                                                                            Method
215    1/24/2021     blackchinnaaf       (786) 277-XXXX $200.00        cash App       $100.00             24 hr page
216    1/25/2021      lyfesreal_ru_      (470) 507-XXXX $100.00        cash App           $50.00            ig story
217    1/26/2021         rtorriee        (561) 569-XXXX $382.00        cash App       $191.00              4 hr page
218    1/26/2021    paris_beautique                     $50.00         cash App           $25.00            ig story
219    1/26/2021    iam_honeydoll                       $300.00        cash App       $150.00              5 hr page
220    1/29/2021  teresalavaebackup                     $300.00        cash App       $150.00              3 hr page
221    1/29/2021       prissyblaire      (310) 334-XXXX $350.00        apple Pay           $0.00            ig story
222    1/29/2021        mzdani2x         (262) 894-XXXX $200.00        cash App       $100.00              5 hr page
223    1/29/2021      lyfesreal_ru_                     $100.00        cash App           $50.00            ig story
224    1/29/2021   dominatetricksz                      $175.00        cash App            $0.00          page post
225     2/1/2021 missamazinhollywood                    $150.00        cash App           $75.00            ig story
226     2/2/2021    naynaybosslady                      $100.00        cash App           $50.00            ig story
227    2/10/2021   amoy_brown456         (413) 489-XXXX $500.00        cash App       $250.00             24 hr page
228    2/10/2021   spoiled brattt_       (209) 229-XXXX $200.00        cash App       $100.00               ig story
229    2/11/2021 therealbella_rochelle   (984) 999-XXXX $100.00        cash App           $50.00            ig story
230    2/11/2021     thegoatcharise      (269) 910-XXXX $200.00        cash App       $100.00               ig story
231    2/11/2021    novethecreator       (404) 375-XXXX $100.00        cash App           $50.00            ig story
232    2/12/2021        megkgunn         (443) 835-XXXX $100.00        cash App           $50.00            ig story
                                                                                                       2 ig story - paid
233           nandyworld_chichaircollection
       2/12/2021                          (973) 866-XXXX $300.00       cash App       $150.00           for additional
                                                                                                              story
234    2/12/2021   dreaminofme_16        (561) 599-XXXX $200.00        cash App       $100.00               ig story
235    2/13/2021      inye_sosa          (618) 830-XXXX $200.00        cash App       $100.00               ig story
236    2/13/2021       jamilypr          (412) 218-XXXX $125.00        cash App           $62.50            ig story
237    2/15/2021   amoy_brown456         (413) 489-XXXX $500.00        cash App       $250.00          24 hr page post
238    2/23/2021      rellechapo                        $500.00              Zelle         $0.00       24 hr page post
239    2/27/2021      tylerwisby                        $200.00             Venmo          $0.00            ig story
240    2/28/2021        rtorriee                        $100.00        cash App           $50.00            ig story
241     3/1/2021     wavverlyy24                        $150.00        cash App           $75.00            ig story
242     3/3/2021    bunzis4ever_3x                      $400.00              zelle         $0.00            ig story
243     3/6/2021   amoy_brown456         (413) 489-XXXX $450.00        cash App       $225.00          24 hr page post
244     3/6/2021   msbirthdaycakez2      (216) 315-XXXX $100.00        cash App            $0.00            ig story


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                           Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 10 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                 Name            Phone Number Amount Paid                       Paid to Artist     Purchased
                                                                              Method
245     3/7/2021          rellechapo     (248) 993-XXXX   $500.00        cash App       $250.00             24 hr page
246    3/10/2021           biffbenz      (804) 485-XXXX   $400.00        cash App       $200.00              5 hr page
247    3/11/2021   drippinn_melanin      (718) 764-XXXX   $160.00        cash App           $80.00            ig story
248    3/13/2021     amoy_brown456       (413) 489-XXXX   $450.00        cash App       $225.00          24 hr page post
249    3/13/2021      1 esmeedgaff       (850) 800-XXXX   $280.00               zelle        $0.00            ig story
250    3/16/2021          rellechapo                      $500.00        cash App       $250.00             page post
251    3/17/2021     amoy_brown456       (413) 489-XXXX   $450.00        cash App       $225.00          24 hr page post
252    3/24/2021        msbonnieali                       $400.00        cash App       $200.00             page post
253    3/24/2021       pretty.z.kitty    (404) 451-XXXX   $100.00        cash App           $50.00            ig story
254    3/24/2021    therealbunz4ever     (214) 882-XXXX   $400.00               zelle        $0.00          page post
255    3/26/2021   originaluglyducklin   (904) 805-XXXX   $300.00        apple Pay           $0.00          page post
256   12/19/2020      eazygot_steelo                      $125.00        Cash App           $62.50          story post
257   12/19/2020           cuttydre                       $100.00        Cash App           $50.00          story post
                                                                                                         down payment
258   12/19/2020    thetraphouse.brat                     $40.00         Cash App           $20.00
                                                                                                               promo
259   12/19/2020          wizocracc                       $150.00        Cash App           $75.00            ig story
260   12/20/2020      jungle.boy.trip                     $50.00         Cash App           $25.00            ig story
261   12/20/2020         iamvashare                       $1,000.00      Cash App       $500.00          live and ig post
262   12/20/2020      merchdats_6ix                       $150.00        Cash App           $85.00          story post
263   12/20/2020           gcs360s                        $50.00         Cash App            $0.00            ig story
264   12/21/2020      ceo.chief.flame                     $50.00         Cash App           $25.00            ig story
                                                                                                         song listen and
265   12/21/2020        letseat_nate                      $1,000.00      Cash App       $450.00
                                                                                                                post
266   12/21/2020     bodiedbybrooke                       $500.00        Cash App       $250.00               ig story
267   12/21/2020          1p_money                        $50.00         Cash App           $25.00            ig story
268   12/21/2020       realsexbarbie                      $200.00        Cash App       $100.00               ig story
269   12/21/2020            rtorriee     (561) 568-XXXX   $350.00        Cash App       $175.00               ig story
270   12/21/2020      naynaybosslady     (561) 303-XXXX   $100.00        Cash App           $50.00            ig story
271   12/21/2020      bouncybundlez      (470) 515-XXXX   $150.00        Cash App           $75.00            ig story
272   12/21/2020        beyruthless                       $50.00         Cash App           $25.00            ig story
273   12/21/2020           kimlifts                       $100.00        Cash App           $50.00            ig story
274   12/22/2020    real.estatetrappin   (412) 897-XXXX   $750.00        cash App       $375.00               ig story
275   12/22/2020       sandrorubes                        $200.00        cash App       $100.00               ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                             Payment
s/n Date                Name           Phone Number Amount Paid                        Paid to Artist   Purchased
                                                                             Method
276   12/22/2020          idgafkayyy                     $50.00         cash App           $25.00        ig story
277   12/22/2020            _rockym     (773) 678-XXXX   $50.00         cash App           $25.00        ig story
278   12/23/2020         letseat_nate                    $800.00        cash App       $400.00           ig story
279   12/24/2020            pg_pluto                     $100.00        Cash App           $50.00        ig story
280   12/24/2020      shesgotitfitness                   $500.00        Cash App       $250.00           ig story
281   12/24/2020           torrysorry                    $100.00        Cash App           $50.00        ig story
282   12/26/2020        kashi_barbie                     $500.00        Cash App       $250.00           ig story
283   12/26/2020 theonlychopthatmatters (440) 227-XXXX   $100.00        Cash App           $50.00        ig story
284   12/26/2020        judyyymarie                      $100.00        Cash App           $50.00        ig story
285   12/28/2020          soufside85    (972) 503-XXXX   $200.00        Cash App       $100.00           ig story
286   12/28/2020       glossyluxeco_                     $350.00        Cash App       $175.00           ig story
287   12/29/2020 jungledivasmagazine                     $200.00        Cash App       $100.00           ig story
288   12/29/2020       damnitsdimes                      $300.00        Cash App       $150.00           ig story
289   12/29/2020       imjhonniblaze                     $350.00        Cash App       $175.00           ig story
290     1/2/2020        ladiirose007                     $100.00        Apple Pay           $0.00        ig story
291     1/2/2020      damn_tammie                        $50.00         Cash App           $25.00        ig story
292     1/2/2020          fjgoodtime                     $150.00        Cash App           $75.00        ig story
293     1/2/2020             xo.quin                     $100.00        Cash App           $50.00        ig story
294     1/2/2020        whopperme                        $600.00        Cash App       $300.00           ig story
295     1/2/2020         destahkneej                     $100.00        Cash App           $50.00        ig story
296     1/2/2020      onesieworld_1                      $100.00        Cash App           $50.00        ig story
297     1/2/2020          itskalishap                    $50.00         Cash App           $25.00        ig story
298     1/2/2020        cocoobunnie                      $200.00        Cash App       $100.00           ig story
299     1/3/2020      iam_honeydoll                      $200.00        Cash App       $100.00           ig story
300     1/3/2020     brownskinzelda                      $50.00         Cash App           $25.00        ig story
301     1/4/2020         slimisadrug                     $100.00        Cash App           $50.00        ig story
302     1/4/2020           tylerwisby                    $100.00              Zelle         $0.00        ig story
303     1/4/2020            ninanyne                     $300.00        Cash App       $150.00           ig story
304     1/4/2020    teresalavaebackup                    $300.00        Cash App       $150.00           ig story
305     1/4/2020        judyyymarie                      $100.00        Cash App           $50.00        ig story
306     1/4/2020            ninanyne                     $200.00              Zelle         $0.00        ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                               Payment
s/n Date                 Name             Phone Number Amount Paid                       Paid to Artist   Purchased
                                                                               Method
307     1/4/2021    ms.light.skin.one                      $500.00        Apple Pay           $0.00         ig story
308     1/4/2021         kappamal_                         $50.00         Cash App           $25.00         ig story
309     1/5/2021         cupkakexo                         $100.00        Cash App           $50.00         ig story
310     1/7/2021 zeunnarosebeenblessed                     $600.00        Cash App       $300.00            ig story
311     1/7/2021         vixenn.love      (310) 270-XXXX   $150.00        Cash App           $75.00         ig story
312     1/7/2021       mustbjordan                         $200.00        Cash App       $100.00            ig story
313     1/9/2021            rtorriee      (561) 568-XXXX   $100.00        Cash App           $50.00         ig story
314     1/9/2021       imyurleader_                        $350.00        Cash App       $175.00            ig story
315     1/9/2021     juicyfantasy100      (214) 972-XXXX   $150.00        Cash App           $75.00         ig story
316    1/11/2021 zeunnarosebeenblessed                     $100.00        Cash App            $0.00        2 hr page
317    1/13/2021        smgcurtis17                        $1,000.00      Cash App       $500.00          page post
318    1/13/2021 model.promotion.stores                    $50.00         Cash App           $25.00         ig story
319    1/13/2021         gsssbyjerry                       $100.00        cash App           $50.00         ig story
320    1/13/2021         slimisadrug                       $100.00        cash App           $50.00         ig story
321    1/14/2021          gee_ayy_        (404) 858-XXXX   $100.00        cash App           $50.00         ig story
322    1/14/2021    wanttogainweight                       $400.00        cash App       $200.00          48 hr page
323    1/14/2021         adivaslyfe_      (352) 339-XXXX   $300.00        cash App       $150.00          page post
324    1/17/2021     shotcalla_snuck                       $150.00        cash App           $75.00         ig story
325    1/17/2021      fierramonique                        $200.00        cash App       $100.00            ig story
326    1/17/2021        the_purcella                       $300.00        cash App       $150.00            ig story
327    1/18/2021      bosslady2014_                        $100.00        cash App           $50.00         ig story
328    1/18/2021    thaatdamnpersia       (817) 664-XXXX   $200.00        cash App       $100.00            ig story
329    1/19/2021         mulamaniii                        $350.00        cash App       $175.00            ig story
330    1/19/2021      naynabosslady                        $100.00        cash App           $50.00         ig story
331    1/19/2021       realsexbarbie                       $200.00        cash App       $100.00          page post
332    1/19/2021 lovelysky_cookieclub     (305) 586-XXXX   $30.00         cash App           $50.00         ig story
333    1/19/2021    brainsbeautybank                       $100.00        Apple Pay           $0.00         ig story
334    1/20/2021         msmilan4u                         $150.00        cash App           $75.00         ig story
335    1/20/2021    malaysia pretty                        $160.00        cash App           $80.00         ig story
336    1/22/2021   missmonaamonroe                         $50.00         cash App           $25.00         ig story
337    1/23/2021      damnitsdimes                         $300.00        apple Pay           $0.00       page post


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                           Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 13 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                Name             Phone Number Amount Paid                       Paid to Artist     Purchased
                                                                              Method
338    1/24/2021       kittyklovers                       $500.00        apple Pay           $0.00           5 stories
339    1/24/2021    plussizechunky                        $100.00        cash App           $50.00           2 hr page
340    1/24/2021     blackchinnaaf       (786) 277-XXXX   $200.00        cash App       $100.00             24 hr page
341    1/25/2021      lyfesreal_ru_      (470) 507-XXXX   $100.00        cash App           $50.00            ig story
342    1/26/2021         rtorriee        (561) 569-XXXX   $382.00        cash App       $191.00              4 hr page
343    1/26/2021    paris_beautique                       $50.00         cash App           $25.00            ig story
344    1/26/2021    iam_honeydoll                         $300.00        cash App       $150.00              5 hr page
345    1/29/2021  teresalavaebackup                       $300.00        cash App       $150.00              3 hr page
346    1/29/2021       prissyblaire      (310) 334-XXXX   $350.00        apple Pay           $0.00            ig story
347    1/29/2021        mzdani2x         (262) 894-XXXX   $200.00        cash App       $100.00              5 hr page
348    1/29/2021      lyfesreal_ru_                       $100.00        cash App           $50.00            ig story
349    1/29/2021   dominatetricksz                        $175.00        cash App            $0.00          page post
350     2/1/2021 missamazinhollywood                      $150.00        cash App           $75.00            ig story
351     2/2/2021    naynaybosslady                        $100.00        cash App           $50.00            ig story
352    2/10/2021   amoy_brown456         (413) 489-XXXX   $500.00        cash App       $250.00             24 hr page
353    2/10/2021   spoiled brattt_       (209) 229-XXXX   $200.00        cash App       $100.00               ig story
354    2/11/2021 therealbella_rochelle   (984) 999-XXXX   $100.00        cash App           $50.00            ig story
355    2/11/2021     thegoatcharise      (269) 910-XXXX   $200.00        cash App       $100.00               ig story
356    2/11/2021    novethecreator       (404) 375-XXXX   $100.00        cash App           $50.00            ig story
357    2/12/2021        megkgunn         (443) 835-XXXX   $100.00        cash App           $50.00            ig story
                                                                                                         2 ig story - paid
358           nandyworld_chichaircollection
       2/12/2021                          (973) 866-XXXX $300.00         cash App       $150.00           for additional
                                                                                                                story
359    2/12/2021    dreaminofme_16       (561) 599-XXXX   $200.00        cash App       $100.00               ig story
360    2/13/2021       inye_sosa         (618) 830-XXXX   $200.00        cash App       $100.00               ig story
361    2/13/2021        jamilypr         (412) 218-XXXX   $125.00        cash App           $62.50            ig story
362    2/15/2021    amoy_brown456        (413) 489-XXXX   $500.00        cash App       $250.00          24 hr page post
363    2/23/2021       rellechapo                         $500.00              Zelle         $0.00       24 hr page post
364    2/27/2021       tylerwisby                         $200.00             Venmo          $0.00            ig story
365    2/28/2021         rtorriee                         $100.00        cash App           $50.00            ig story
366     3/1/2021      wavverlyy24                         $150.00        cash App           $75.00            ig story
367     3/3/2021     bunzis4ever_3x                       $400.00              zelle         $0.00            ig story


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                           Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 14 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                             Payment
s/n Date                 Name             Phone Number Amount Paid                     Paid to Artist     Purchased
                                                                             Method
368     3/6/2021     amoy_brown456        (413) 489-XXXX $450.00        cash App       $225.00          24 hr page post
369     3/6/2021    msbirthdaycakez2      (216) 315-XXXX $100.00        cash App            $0.00            ig story
370     3/7/2021           rellechapo     (248) 993-XXXX $500.00        cash App       $250.00             24 hr page
371   12/19/2020      eazygot_steelo                     $125.00        Cash App           $62.50          story post
372   12/19/2020            cuttydre                     $100.00        Cash App           $50.00          story post
                                                                                                        down payment
373   12/19/2020    thetraphouse.brat                    $40.00         Cash App           $20.00
                                                                                                              promo
374   12/19/2020            wizocracc                    $150.00        Cash App           $75.00            ig story
375   12/20/2020       jungle.boy.trip                   $50.00         Cash App           $25.00            ig story
376   12/20/2020          iamvashare                     $1,000.00      Cash App       $500.00          live and ig post
377   12/20/2020      merchdats_6ix                      $150.00        Cash App           $85.00          story post
378   12/20/2020             gcs360s                     $50.00         Cash App            $0.00            ig story
379   12/21/2020      ceo.chief.flame                    $50.00         Cash App           $25.00            ig story
                                                                                                        song listen and
380   12/21/2020         letseat_nate                    $1,000.00      Cash App       $450.00
                                                                                                               post
381   12/21/2020     bodiedbybrooke                      $500.00        Cash App       $250.00               ig story
382   12/21/2020           1p_money                      $50.00         Cash App           $25.00            ig story
383   12/21/2020        realsexbarbie                    $200.00        Cash App       $100.00               ig story
384   12/21/2020             rtorriee     (561) 568-XXXX $350.00        Cash App       $175.00               ig story
385   12/21/2020      naynaybosslady      (561) 303-XXXX $100.00        Cash App           $50.00            ig story
386   12/21/2020      bouncybundlez       (470) 515-XXXX $150.00        Cash App           $75.00            ig story
387   12/21/2020         beyruthless                     $50.00         Cash App           $25.00            ig story
388   12/21/2020             kimlifts                    $100.00        Cash App           $50.00            ig story
389   12/22/2020    real.estatetrappin    (412) 897-XXXX $750.00        cash App       $375.00               ig story
390   12/22/2020        sandrorubes                      $200.00        cash App       $100.00               ig story
391   12/22/2020           idgafkayyy                    $50.00         cash App           $25.00            ig story
392   12/22/2020            _rockym       (773) 678-XXXX $50.00         cash App           $25.00            ig story
393   12/23/2020         letseat_nate                    $800.00        cash App       $400.00               ig story
394   12/24/2020            pg_pluto                     $100.00        Cash App           $50.00            ig story
395   12/24/2020      shesgotitfitness                   $500.00        Cash App       $250.00               ig story
396   12/24/2020           torrysorry                    $100.00        Cash App           $50.00            ig story
397   12/26/2020        kashi_barbie                     $500.00        Cash App       $250.00               ig story
398   12/26/2020 theonlychopthatmatters   (440) 227-XXXX $100.00        Cash App           $50.00            ig story


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                           Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 15 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                            Payment
s/n Date                Name             Phone Number Amount Paid                     Paid to Artist   Purchased
                                                                            Method
399   12/26/2020        judyyymarie                     $100.00        Cash App           $50.00        ig story
400   12/28/2020         soufside85      (972) 503-XXXX $200.00        Cash App       $100.00           ig story
401   12/28/2020      glossyluxeco_                     $350.00        Cash App       $175.00           ig story
402   12/29/2020 jungledivasmagazine                    $200.00        Cash App       $100.00           ig story
403   12/29/2020      damnitsdimes                      $300.00        Cash App       $150.00           ig story
404   12/29/2020      imjhonniblaze                     $350.00        Cash App       $175.00           ig story
405     1/2/2020        ladiirose007                    $100.00        Apple Pay           $0.00        ig story
406     1/2/2020     damn_tammie                        $50.00         Cash App           $25.00        ig story
407     1/2/2020         fjgoodtime                     $150.00        Cash App           $75.00        ig story
408     1/2/2020            xo.quin                     $100.00        Cash App           $50.00        ig story
409     1/2/2020        whopperme                       $600.00        Cash App       $300.00           ig story
410     1/2/2020        destahkneej                     $100.00        Cash App           $50.00        ig story
411     1/2/2020     onesieworld_1                      $100.00        Cash App           $50.00        ig story
412     1/2/2020         itskalishap                    $50.00         Cash App           $25.00        ig story
413     1/2/2020       cocoobunnie                      $200.00        Cash App       $100.00           ig story
414     1/3/2020     iam_honeydoll                      $200.00        Cash App       $100.00           ig story
415     1/3/2020    brownskinzelda                      $50.00         Cash App           $25.00        ig story
416     1/4/2020         slimisadrug                    $100.00        Cash App           $50.00        ig story
417     1/4/2020          tylerwisby                    $100.00              Zelle         $0.00        ig story
418     1/4/2020           ninanyne                     $300.00        Cash App       $150.00           ig story
419     1/4/2020   teresalavaebackup                    $300.00        Cash App       $150.00           ig story
420     1/4/2020        judyyymarie                     $100.00        Cash App           $50.00        ig story
421     1/4/2020           ninanyne                     $200.00              Zelle         $0.00        ig story
422     1/4/2021    ms.light.skin.one                   $500.00        Apple Pay           $0.00        ig story
423     1/4/2021         kappamal_                      $50.00         Cash App           $25.00        ig story
424     1/5/2021         cupkakexo                      $100.00        Cash App           $50.00        ig story
425     1/7/2021 zeunnarosebeenblessed                  $600.00        Cash App       $300.00           ig story
426     1/7/2021        vixenn.love      (310) 270-XXXX $150.00        Cash App           $75.00        ig story
427     1/7/2021       mustbjordan                      $200.00        Cash App       $100.00           ig story
428     1/9/2021            rtorriee     (561) 568-XXXX $100.00        Cash App           $50.00        ig story
429     1/9/2021       imyurleader_                     $350.00        Cash App       $175.00           ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                             Payment
s/n Date                 Name             Phone Number Amount Paid                     Paid to Artist   Purchased
                                                                             Method
430     1/9/2021     juicyfantasy100      (214) 972-XXXX $150.00        Cash App           $75.00         ig story
431    1/11/2021 zeunnarosebeenblessed                   $100.00        Cash App            $0.00        2 hr page
432    1/13/2021         smgcurtis17                     $1,000.00      Cash App       $500.00          page post
433    1/13/2021 model.promotion.stores                  $50.00         Cash App           $25.00         ig story
434    1/13/2021          gsssbyjerry                    $100.00        cash App           $50.00         ig story
435    1/13/2021          slimisadrug                    $100.00        cash App           $50.00         ig story
436    1/14/2021           gee_ayy_       (404) 858-XXXX $100.00        cash App           $50.00         ig story
437    1/14/2021    wanttogainweight                     $400.00        cash App       $200.00          48 hr page
438    1/14/2021          adivaslyfe_     (352) 339-XXXX $300.00        cash App       $150.00          page post
439    1/17/2021     shotcalla_snuck                     $150.00        cash App           $75.00         ig story
440    1/17/2021       fierramonique                     $200.00        cash App       $100.00            ig story
441    1/17/2021         the_purcella                    $300.00        cash App       $150.00            ig story
442    1/18/2021      bosslady2014_                      $100.00        cash App           $50.00         ig story
443    1/18/2021    thaatdamnpersia       (817) 664-XXXX $200.00        cash App       $100.00            ig story
444    1/19/2021          mulamaniii                     $350.00        cash App       $175.00            ig story
445    1/19/2021      naynabosslady                      $100.00        cash App           $50.00         ig story
446    1/19/2021        realsexbarbie                    $200.00        cash App       $100.00          page post
447    1/19/2021 lovelysky_cookieclub     (305) 586-XXXX $30.00         cash App           $50.00         ig story
448    1/19/2021    brainsbeautybank                     $100.00        Apple Pay           $0.00         ig story
449    1/20/2021          msmilan4u                      $150.00        cash App           $75.00         ig story
450    1/20/2021    malaysia pretty                      $160.00        cash App           $80.00         ig story
451    1/22/2021   missmonaamonroe                       $50.00         cash App           $25.00         ig story
452    1/23/2021       damnitsdimes                      $300.00        apple Pay           $0.00       page post
453    1/24/2021         kittyklovers                    $500.00        apple Pay           $0.00        5 stories
454    1/24/2021     plussizechunky                      $100.00        cash App           $50.00        2 hr page
455    1/24/2021       blackchinnaaf      (786) 277-XXXX $200.00        cash App       $100.00          24 hr page
456    1/25/2021        lyfesreal_ru_     (470) 507-XXXX $100.00        cash App           $50.00         ig story
457    1/26/2021             rtorriee     (561) 569-XXXX $382.00        cash App       $191.00           4 hr page
458    1/26/2021     paris_beautique                     $50.00         cash App           $25.00         ig story
459    1/26/2021      iam_honeydoll                      $300.00        cash App       $150.00           5 hr page
460    1/29/2021   teresalavaebackup                     $300.00        cash App       $150.00           3 hr page


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                              Payment
s/n Date                 Name            Phone Number Amount Paid                       Paid to Artist     Purchased
                                                                              Method
461    1/29/2021      prissyblaire       (310) 334-XXXX $350.00          apple Pay           $0.00            ig story
462    1/29/2021       mzdani2x          (262) 894-XXXX $200.00          cash App       $100.00              5 hr page
463    1/29/2021     lyfesreal_ru_                      $100.00          cash App           $50.00            ig story
464    1/29/2021   dominatetricksz                      $175.00          cash App            $0.00          page post
465     2/1/2021 missamazinhollywood                    $150.00          cash App           $75.00            ig story
466     2/2/2021    naynaybosslady                      $100.00          cash App           $50.00            ig story
467    2/10/2021   amoy_brown456         (413) 489-XXXX $500.00          cash App       $250.00             24 hr page
468    2/10/2021   spoiled brattt_       (209) 229-XXXX $200.00          cash App       $100.00               ig story
469    2/11/2021 therealbella_rochelle   (984) 999-XXXX $100.00          cash App           $50.00            ig story
470    2/11/2021    thegoatcharise       (269) 910-XXXX $200.00          cash App       $100.00               ig story
471    2/11/2021    novethecreator       (404) 375-XXXX $100.00          cash App           $50.00            ig story
472    2/12/2021       megkgunn          (443) 835-XXXX $100.00          cash App           $50.00            ig story
                                                                                                         2 ig story - paid
473           nandyworld_chichaircollection
       2/12/2021                          (973) 866-XXXX $300.00         cash App       $150.00           for additional
                                                                                                                story
474    2/12/2021    dreaminofme_16       (561) 599-XXXX   $200.00        cash App       $100.00               ig story
475    2/13/2021          inye_sosa      (618) 830-XXXX   $200.00        cash App       $100.00               ig story
476    2/13/2021           jamilypr      (412) 218-XXXX   $125.00        cash App           $62.50            ig story
477    2/15/2021     amoy_brown456       (413) 489-XXXX   $500.00        cash App       $250.00          24 hr page post
478    2/23/2021          rellechapo                      $500.00              Zelle         $0.00       24 hr page post
479   12/19/2020      eazygot_steelo                      $125.00        Cash App           $62.50          story post
480   12/19/2020           cuttydre                       $100.00        Cash App           $50.00          story post
                                                                                                         down payment
481   12/19/2020    thetraphouse.brat                     $40.00         Cash App           $20.00
                                                                                                               promo
482   12/19/2020          wizocracc                       $150.00        Cash App           $75.00            ig story
483   12/20/2020      jungle.boy.trip                     $50.00         Cash App           $25.00            ig story
484   12/20/2020         iamvashare                       $1,000.00      Cash App       $500.00          live and ig post
485   12/20/2020      merchdats_6ix                       $150.00        Cash App           $85.00          story post
486   12/20/2020           gcs360s                        $50.00         Cash App            $0.00            ig story
487   12/21/2020      ceo.chief.flame                     $50.00         Cash App           $25.00            ig story
                                                                                                         song listen and
488   12/21/2020        letseat_nate                      $1,000.00      Cash App       $450.00
                                                                                                                post
489   12/21/2020     bodiedbybrooke                       $500.00        Cash App       $250.00               ig story
490   12/21/2020          1p_money                        $50.00         Cash App           $25.00            ig story


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                          Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 18 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                             Payment
s/n Date                Name           Phone Number Amount Paid                        Paid to Artist   Purchased
                                                                             Method
491   12/21/2020       realsexbarbie                     $200.00        Cash App       $100.00           ig story
492   12/21/2020            rtorriee    (561) 568-XXXX   $350.00        Cash App       $175.00           ig story
493   12/21/2020     naynaybosslady     (561) 303-XXXX   $100.00        Cash App           $50.00        ig story
494   12/21/2020     bouncybundlez      (470) 515-XXXX   $150.00        Cash App           $75.00        ig story
495   12/21/2020         beyruthless                     $50.00         Cash App           $25.00        ig story
496   12/21/2020            kimlifts                     $100.00        Cash App           $50.00        ig story
497   12/22/2020    real.estatetrappin  (412) 897-XXXX   $750.00        cash App       $375.00           ig story
498   12/22/2020       sandrorubes                       $200.00        cash App       $100.00           ig story
499   12/22/2020         idgafkayyy                      $50.00         cash App           $25.00        ig story
500   12/22/2020           _rockym      (773) 678-XXXX   $50.00         cash App           $25.00        ig story
501   12/23/2020        letseat_nate                     $800.00        cash App       $400.00           ig story
502   12/24/2020           pg_pluto                      $100.00        Cash App           $50.00        ig story
503   12/24/2020     shesgotitfitness                    $500.00        Cash App       $250.00           ig story
504   12/24/2020          torrysorry                     $100.00        Cash App           $50.00        ig story
505   12/26/2020       kashi_barbie                      $500.00        Cash App       $250.00           ig story
506   12/26/2020 theonlychopthatmatters (440) 227-XXXX   $100.00        Cash App           $50.00        ig story
507   12/26/2020        judyyymarie                      $100.00        Cash App           $50.00        ig story
508   12/28/2020         soufside85     (972) 503-XXXX   $200.00        Cash App       $100.00           ig story
509   12/28/2020      glossyluxeco_                      $350.00        Cash App       $175.00           ig story
510   12/29/2020 jungledivasmagazine                     $200.00        Cash App       $100.00           ig story
511   12/29/2020      damnitsdimes                       $300.00        Cash App       $150.00           ig story
512   12/29/2020      imjhonniblaze                      $350.00        Cash App       $175.00           ig story
513     1/2/2020        ladiirose007                     $100.00        Apple Pay           $0.00        ig story
514     1/2/2020     damn_tammie                         $50.00         Cash App           $25.00        ig story
515     1/2/2020         fjgoodtime                      $150.00        Cash App           $75.00        ig story
516     1/2/2020            xo.quin                      $100.00        Cash App           $50.00        ig story
517     1/2/2020        whopperme                        $600.00        Cash App       $300.00           ig story
518     1/2/2020        destahkneej                      $100.00        Cash App           $50.00        ig story
519     1/2/2020     onesieworld_1                       $100.00        Cash App           $50.00        ig story
520     1/2/2020         itskalishap                     $50.00         Cash App           $25.00        ig story
521     1/2/2020       cocoobunnie                       $200.00        Cash App       $100.00           ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                               Payment
s/n Date                 Name             Phone Number Amount Paid                       Paid to Artist   Purchased
                                                                               Method
522     1/3/2020      iam_honeydoll                        $200.00        Cash App       $100.00            ig story
523     1/3/2020     brownskinzelda                        $50.00         Cash App           $25.00         ig story
524     1/4/2020          slimisadrug                      $100.00        Cash App           $50.00         ig story
525     1/4/2020           tylerwisby                      $100.00              Zelle         $0.00         ig story
526     1/4/2020            ninanyne                       $300.00        Cash App       $150.00            ig story
527     1/4/2020   teresalavaebackup                       $300.00        Cash App       $150.00            ig story
528     1/4/2020         judyyymarie                       $100.00        Cash App           $50.00         ig story
529     1/4/2020            ninanyne                       $200.00              Zelle         $0.00         ig story
530     1/4/2021    ms.light.skin.one                      $500.00        Apple Pay           $0.00         ig story
531     1/4/2021          kappamal_                        $50.00         Cash App           $25.00         ig story
532     1/5/2021          cupkakexo                        $100.00        Cash App           $50.00         ig story
533     1/7/2021 zeunnarosebeenblessed                     $600.00        Cash App       $300.00            ig story
534     1/7/2021          vixenn.love     (310) 270-XXXX   $150.00        Cash App           $75.00         ig story
535     1/7/2021        mustbjordan                        $200.00        Cash App       $100.00            ig story
536     1/9/2021             rtorriee     (561) 568-XXXX   $100.00        Cash App           $50.00         ig story
537     1/9/2021        imyurleader_                       $350.00        Cash App       $175.00            ig story
538     1/9/2021     juicyfantasy100      (214) 972-XXXX   $150.00        Cash App           $75.00         ig story
539    1/11/2021 zeunnarosebeenblessed                     $100.00        Cash App            $0.00        2 hr page
540    1/13/2021         smgcurtis17                       $1,000.00      Cash App       $500.00          page post
541    1/13/2021 model.promotion.stores                    $50.00         Cash App           $25.00         ig story
542    1/13/2021          gsssbyjerry                      $100.00        cash App           $50.00         ig story
543    1/13/2021          slimisadrug                      $100.00        cash App           $50.00         ig story
544    1/14/2021            gee_ayy_      (404) 858-XXXX   $100.00        cash App           $50.00         ig story
545    1/14/2021    wanttogainweight                       $400.00        cash App       $200.00          48 hr page
546    1/14/2021          adivaslyfe_     (352) 339-XXXX   $300.00        cash App       $150.00          page post
547    1/17/2021     shotcalla_snuck                       $150.00        cash App           $75.00         ig story
548    1/17/2021       fierramonique                       $200.00        cash App       $100.00            ig story
549    1/17/2021         the_purcella                      $300.00        cash App       $150.00            ig story
550    1/18/2021      bosslady2014_                        $100.00        cash App           $50.00         ig story
551    1/18/2021    thaatdamnpersia       (817) 664-XXXX   $200.00        cash App       $100.00            ig story
552    1/19/2021          mulamaniii                       $350.00        cash App       $175.00            ig story


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                           Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 20 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                               Payment
s/n Date                Name            Phone Number Amount Paid                         Paid to Artist   Purchased
                                                                               Method
553    1/19/2021      naynabosslady                        $100.00        cash App           $50.00         ig story
554    1/19/2021       realsexbarbie                       $200.00        cash App       $100.00          page post
555    1/19/2021 lovelysky_cookieclub (305) 586-XXXX       $30.00         cash App           $50.00         ig story
556    1/19/2021   brainsbeautybank                        $100.00        Apple Pay           $0.00         ig story
557    1/20/2021        msmilan4u                          $150.00        cash App           $75.00         ig story
558    1/20/2021    malaysia pretty                        $160.00        cash App           $80.00         ig story
559    1/22/2021   missmonaamonroe                         $50.00         cash App           $25.00         ig story
560    1/23/2021      damnitsdimes                         $300.00        apple Pay           $0.00       page post
561    1/24/2021        kittyklovers                       $500.00        apple Pay           $0.00        5 stories
562    1/24/2021     plussizechunky                        $100.00        cash App           $50.00        2 hr page
563    1/24/2021      blackchinnaaf       (786) 277-XXXX   $200.00        cash App       $100.00          24 hr page
564    1/25/2021       lyfesreal_ru_      (470) 507-XXXX   $100.00        cash App           $50.00         ig story
565    1/26/2021          rtorriee        (561) 569-XXXX   $382.00        cash App       $191.00           4 hr page
566    1/26/2021     paris_beautique                       $50.00         cash App           $25.00         ig story
567    1/26/2021     iam_honeydoll                         $300.00        cash App       $150.00           5 hr page
568    1/29/2021   teresalavaebackup                       $300.00        cash App       $150.00           3 hr page
569    1/29/2021        prissyblaire      (310) 334-XXXX   $350.00        apple Pay           $0.00         ig story
570    1/29/2021         mzdani2x         (262) 894-XXXX   $200.00        cash App       $100.00           5 hr page
571    1/29/2021       lyfesreal_ru_                       $100.00        cash App           $50.00         ig story
572    1/29/2021    dominatetricksz                        $175.00        cash App            $0.00       page post
573     2/1/2021 missamazinhollywood                       $150.00        cash App           $75.00         ig story
574     2/2/2021     naynaybosslady                        $100.00        cash App           $50.00         ig story
575    2/10/2021    amoy_brown456         (413) 489-XXXX   $500.00        cash App       $250.00          24 hr page
576    2/10/2021    spoiled brattt_       (209) 229-XXXX   $200.00        cash App       $100.00            ig story
577    2/11/2021 therealbella_rochelle    (984) 999-XXXX   $100.00        cash App           $50.00         ig story
578    2/11/2021      thegoatcharise      (269) 910-XXXX   $200.00        cash App       $100.00            ig story
579    2/11/2021     novethecreator       (404) 375-XXXX   $100.00        cash App           $50.00         ig story
580    2/12/2021         megkgunn         (443) 835-XXXX   $100.00        cash App           $50.00         ig story
581           nandyworld_chichaircollection
       2/12/2021                          (973) 866-XXXX   $150.00        cash App           $75.00         ig story
582    2/12/2021    dreaminofme_16        (561) 599-XXXX   $200.00        cash App       $100.00            ig story
583   12/19/2020     eazygot_steelo                        $125.00        Cash App           $62.50       story post


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                          Case 5:22-cv-05691-BLF Document 21-3 Filed 02/10/22 Page 21 of 24
                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                             Payment
s/n Date                Name           Phone Number Amount Paid                        Paid to Artist    Purchased
                                                                             Method
584   12/19/2020           cuttydre                      $100.00        Cash App           $50.00          story post
                                                                                                        down payment
585   12/19/2020    thetraphouse.brat                    $40.00         Cash App           $20.00
                                                                                                              promo
586   12/19/2020           wizocracc                     $150.00        Cash App           $75.00            ig story
587   12/20/2020      jungle.boy.trip                    $50.00         Cash App           $25.00            ig story
588   12/20/2020         iamvashare                      $1,000.00      Cash App       $500.00          live and ig post
589   12/20/2020      merchdats_6ix                      $150.00        Cash App           $85.00          story post
590   12/20/2020            gcs360s                      $50.00         Cash App            $0.00            ig story
591   12/21/2020      ceo.chief.flame                    $50.00         Cash App           $25.00            ig story
                                                                                                        song listen and
592   12/21/2020        letseat_nate                     $1,000.00      Cash App       $450.00
                                                                                                               post
593   12/21/2020     bodiedbybrooke                      $500.00        Cash App       $250.00               ig story
594   12/21/2020          1p_money                       $50.00         Cash App           $25.00            ig story
595   12/21/2020       realsexbarbie                     $200.00        Cash App       $100.00               ig story
596   12/21/2020            rtorriee    (561) 568-XXXX   $350.00        Cash App       $175.00               ig story
597   12/21/2020     naynaybosslady     (561) 303-XXXX   $100.00        Cash App           $50.00            ig story
598   12/21/2020     bouncybundlez      (470) 515-XXXX   $150.00        Cash App           $75.00            ig story
599   12/21/2020         beyruthless                     $50.00         Cash App           $25.00            ig story
600   12/21/2020            kimlifts                     $100.00        Cash App           $50.00            ig story
601   12/22/2020    real.estatetrappin  (412) 897-XXXX   $750.00        cash App       $375.00               ig story
602   12/22/2020        sandrorubes                      $200.00        cash App       $100.00               ig story
603   12/22/2020          idgafkayyy                     $50.00         cash App           $25.00            ig story
604   12/22/2020           _rockym      (773) 678-XXXX   $50.00         cash App           $25.00            ig story
605   12/23/2020        letseat_nate                     $800.00        cash App       $400.00               ig story
606   12/24/2020           pg_pluto                      $100.00        Cash App           $50.00            ig story
607   12/24/2020     shesgotitfitness                    $500.00        Cash App       $250.00               ig story
608   12/24/2020          torrysorry                     $100.00        Cash App           $50.00            ig story
609   12/26/2020        kashi_barbie                     $500.00        Cash App       $250.00               ig story
610   12/26/2020 theonlychopthatmatters (440) 227-XXXX   $100.00        Cash App           $50.00            ig story
611   12/26/2020        judyyymarie                      $100.00        Cash App           $50.00            ig story
612   12/28/2020         soufside85     (972) 503-XXXX   $200.00        Cash App       $100.00               ig story
613   12/28/2020       glossyluxeco_                     $350.00        Cash App       $175.00               ig story
614   12/29/2020 jungledivasmagazine                     $200.00        Cash App       $100.00               ig story


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                                                 Exhibit G-Sales Kakey
                    Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                           Payment
s/n Date                Name           Phone Number Amount Paid                      Paid to Artist   Purchased
                                                                           Method
615   12/29/2020      damnitsdimes                     $300.00        Cash App       $150.00           ig story
616   12/29/2020      imjhonniblaze                    $350.00        Cash App       $175.00           ig story
617     1/2/2020        ladiirose007                   $100.00        Apple Pay           $0.00        ig story
618     1/2/2020      damn_tammie                      $50.00         Cash App           $25.00        ig story
619     1/2/2020         fjgoodtime                    $150.00        Cash App           $75.00        ig story
620     1/2/2020            xo.quin                    $100.00        Cash App           $50.00        ig story
621     1/2/2020        whopperme                      $600.00        Cash App       $300.00           ig story
622     1/2/2020        destahkneej                    $100.00        Cash App           $50.00        ig story
623     1/2/2020      onesieworld_1                    $100.00        Cash App           $50.00        ig story
624     1/2/2020         itskalishap                   $50.00         Cash App           $25.00        ig story
625     1/2/2020       cocoobunnie                     $200.00        Cash App       $100.00           ig story
626     1/3/2020     iam_honeydoll                     $200.00        Cash App       $100.00           ig story
627     1/3/2020    brownskinzelda                     $50.00         Cash App           $25.00        ig story
628     1/4/2020         slimisadrug                   $100.00        Cash App           $50.00        ig story
629     1/4/2020          tylerwisby                   $100.00              Zelle         $0.00        ig story
630     1/4/2020           ninanyne                    $300.00        Cash App       $150.00           ig story
631     1/4/2020   teresalavaebackup                   $300.00        Cash App       $150.00           ig story
632     1/4/2020        judyyymarie                    $100.00        Cash App           $50.00        ig story
633     1/4/2020           ninanyne                    $200.00              Zelle         $0.00        ig story
634     1/4/2021    ms.light.skin.one                  $500.00        Apple Pay           $0.00        ig story
635     1/4/2021         kappamal_                     $50.00         Cash App           $25.00        ig story
636     1/5/2021         cupkakexo                     $100.00        Cash App           $50.00        ig story
637     1/7/2021 zeunnarosebeenblessed                 $600.00        Cash App       $300.00           ig story
638     1/7/2021        vixenn.love     (310) 270-XXXX $150.00        Cash App           $75.00        ig story
639     1/7/2021       mustbjordan                     $200.00        Cash App       $100.00           ig story
640     1/9/2021            rtorriee    (561) 568-XXXX $100.00        Cash App           $50.00        ig story
641     1/9/2021       imyurleader_                    $350.00        Cash App       $175.00           ig story
642     1/9/2021     juicyfantasy100    (214) 972-XXXX $150.00        Cash App           $75.00        ig story
643    1/11/2021 zeunnarosebeenblessed                 $100.00        Cash App            $0.00       2 hr page
644    1/13/2021        smgcurtis17                    $1,000.00      Cash App       $500.00          page post
645    1/13/2021 model.promotion.stores                $50.00         Cash App           $25.00        ig story


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                                                  Exhibit G-Sales Kakey
                     Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                               Payment
s/n Date                 Name             Phone Number Amount Paid                       Paid to Artist   Purchased
                                                                               Method
646    1/13/2021           gsssbyjerry                     $100.00        cash App           $50.00         ig story
647    1/13/2021           slimisadrug                     $100.00        cash App           $50.00         ig story
648    1/14/2021            gee_ayy_      (404) 858-XXXX   $100.00        cash App           $50.00         ig story
649    1/14/2021     wanttogainweight                      $400.00        cash App       $200.00          48 hr page
650    1/14/2021           adivaslyfe_    (352) 339-XXXX   $300.00        cash App       $150.00          page post
651    1/17/2021      shotcalla_snuck                      $150.00        cash App           $75.00         ig story
652    1/17/2021        fierramonique                      $200.00        cash App       $100.00            ig story
653    1/17/2021          the_purcella                     $300.00        cash App       $150.00            ig story
654    1/18/2021       bosslady2014_                       $100.00        cash App           $50.00         ig story
655    1/18/2021      thaatdamnpersia     (817) 664-XXXX   $200.00        cash App       $100.00            ig story
656    1/19/2021           mulamaniii                      $350.00        cash App       $175.00            ig story
657    1/19/2021       naynabosslady                       $100.00        cash App           $50.00         ig story
658    1/19/2021         realsexbarbie                     $200.00        cash App       $100.00          page post
659    1/19/2021   lovelysky_cookieclub   (305) 586-XXXX   $30.00         cash App           $50.00         ig story
660    1/19/2021     brainsbeautybank                      $100.00        Apple Pay           $0.00         ig story
661    1/20/2021           msmilan4u                       $150.00        cash App           $75.00         ig story
662    1/20/2021      malaysia pretty                      $160.00        cash App           $80.00         ig story
663    1/22/2021    missmonaamonroe                        $50.00         cash App           $25.00         ig story
664    1/23/2021        damnitsdimes                       $300.00        apple Pay           $0.00       page post
665    1/24/2021          kittyklovers                     $500.00        apple Pay           $0.00        5 stories
666    1/24/2021       plussizechunky                      $100.00        cash App           $50.00        2 hr page
667    1/24/2021        blackchinnaaf     (786) 277-XXXX   $200.00        cash App       $100.00          24 hr page
668    1/25/2021         lyfesreal_ru_    (470) 507-XXXX   $100.00        cash App           $50.00         ig story
669    1/26/2021              rtorriee    (561) 569-XXXX   $382.00        cash App       $191.00           4 hr page
670    1/26/2021      paris_beautique                      $50.00         cash App           $25.00         ig story
671    1/26/2021       iam_honeydoll                       $300.00        cash App       $150.00           5 hr page
672    1/29/2021     teresalavaebackup                     $300.00        cash App       $150.00           3 hr page
673    1/29/2021           prissyblaire   (310) 334-XXXX   $350.00        apple Pay           $0.00         ig story
674    1/29/2021            mzdani2x      (262) 894-XXXX   $200.00        cash App       $100.00           5 hr page
675    1/29/2021         lyfesreal_ru_                     $100.00        cash App           $50.00         ig story
676    1/29/2021      dominatetricksz                      $175.00        cash App            $0.00       page post


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                                                   Exhibit G-Sales Kakey
                      Weeks of 2021/02/08, 2021/02/16, 2021/02/23, 2021/03/10, 2021/03/30, 2021/04/06
                                                                           Payment
s/n Date                  Name            Phone Number Amount Paid                   Paid to Artist   Purchased
                                                                           Method
677        2/1/2021 missamazinhollywood                $150.00        cash App          $75.00         ig story
678        2/2/2021    naynaybosslady                  $100.00        cash App          $50.00         ig story




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